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        In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                              No. 13-582V
                                        Filed: December 8, 2016

* * * * * * * * * * * *                    *              UNPUBLISHED
AMBER FRANKLIN as Next Friend of           *
S.F., a minor,                             *
                                           *
                     Petitioner,           *              Special Master Gowen
                                           *
v.                                         *              Joint Stipulation on Damages;
                                           *              Diphtheria-Tetanus-Acellular
SECRETARY OF HEALTH                        *              Pertussis (“DTaP”) Vaccine;
AND HUMAN SERVICES,                        *              Inactivated Poliovirus (“IPV”)
                                           *              Vaccine; Measles-Mumps-Rubella
                     Respondent.           *              (“MMR”) Vaccine; Varicella
                                           *              Vaccine; Encephalitis
* * * * * * * * * * * * *
Scott W. Rooney, Nemes, Rooney P.C., Farmington Hills, MI, for petitioner.
Ryan D. Pyles, United States Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

        On August 15, 2013, Amber Franklin a petition on behalf of her minor child, S.F.,
pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-10 to 34
(2012). Petitioner alleged that S.F. developed encephalitis as a result of receiving diphtheria-
tetanus-acellular pertussis (“DTaP”), inactivated poliovirus (“IPV”), measles-mumps-rubells
(“MMR”), and/or varicella vaccines. Stipulation at ¶ 1.

       On December 7, 2016, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the vaccines, either singly or

1
 Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services). As provided by Vaccine Rule 18(b), each party has 14
days within which to request redaction “of any information furnished by that party: (1) that is a trade
secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b).

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§
300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. § 300aa.
                                                     1
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in combination, caused and/or significantly aggravated S.F.’s alleged encephalitis and/or any
other injury. Stipulation at ¶ 6. Nevertheless, the parties agree to the joint stipulation, attached
hereto as Appendix A. The undersigned finds the stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following in compensation:

    a. A lump sum of $35,000.00, which amount represents reimbursement of a State of
       Michigan Medicaid lien, in the form of a check payable jointly to petitioner and

                                             State of Michigan
                                          Michigan Dep’t of HHS
                                        Third Party Liability Division
                                               P.O. Box 30053
                                             Lansing, MI 48909

                      Petitioner agrees to endorse this payment to the State; and

    b. A lump sum of $45,000.00 in the form of a check payable to petitioner, on behalf of
       S.F. This amount represents compensation for all remaining damages that would be
       available under 42 U.S.C. § 300aa-15(a).

        Id. at ¶ 8.

        The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, the clerk of the court SHALL ENTER JUDGMENT in accordance with the terms
of the parties’ stipulation.3

        IT IS SO ORDERED.

                                                          s/Thomas L. Gowen
                                                          Thomas L. Gowen
                                                          Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                     2
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